   RECEIVE~
                                   IN THE UNITED STATES DISTRICT COURT
      MAR 2 S 20181)
PETER A. MOORE, JR., CLERK     FOR THE EASTERN DISTRICT OF NORTH CAROLINA
 US DISTRICT COURT, EDNC
                                         £: /~..-C(/-//6-~IVISION




          (Enter above the full name
          of the Plaintiff [s] in this
          action) .
                                                             Case No.
                             vs.                                        (To be assigned
                                                                         by the Clerk of
                                                                         District Court)




          (Enter above the full name of
          ALL Defendant[s] in this action.
          Fed.R.Civ.P.lO(a) requires that
          the caption of the complaint
          include the names of all the
          parties. Merely listing one
          party and "et al." is insufficient.
          Please attach additional sheets if
          necessary) .

                                                 COMPLAINT




                                                     1




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                                                                                  r




2. ·Defendant (s) name (s)   =~<rtneQ} ~t~tQ\jX) Qo~ \\Urffio ~UIC6;
~'\\-',\S;fne tr\ffi€    c£ J\.\orm C:os()\\00\~> l\n\1ro ()\Q\e~
(d\)\\Q('(\IDQffi.


         Location of principal office(s) of the named defendant(s):

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         Approximate number of individuals employed by defendant:




 3.     This action is brought pursuant to Title VII of the Civil

 Rights Act of 1964 for employment discrimination.           Jurisdiction

 is specifically conferred on this court by 42 U.S.C.          §   2000e-5.

 Equitable and other relief are also sought under 42 U.S.C.

 §    20003-5 (g).

 4.     The acts complained of in this suit concern:

         (A)   'i    Failure to employ me.

         (B)         Termination of my employment.

         (C)         Failure to promote me.

         (D)   ><-   Other acts as specified below:

                                       2




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5.   Plaintiff is:

      (A)               presently employed by the defendant.

      (B)    ;(         not presently employed by the defendant.

            The dates of employment were          -f.~)~\~f\_.__~~~~~~~

            Employment was terminated because:

            ( 1)   x            plaintiff was discharged.

                                plaintiff was laid off.
            (2)
                   I   ><
            ( 3)
                   '
                       x        plaintiff left job voluntarily.

6.   Defendant(s} conduct is discriminatory with respect to the

following:

      (A)    x.         my race.

      (B)                   my religion.

      (C)    ><
             '
                            my sex.


                                            3




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      (D)   )(    my national origin.

      (E)   X:    other as specified below:

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7.   The name(s), race, sex, and the position or title of the

individual(s) who allegedly discriminated against me during the

period of my employment with the defendant company is (are) :

f\c~ J A\D.)J~ 1 ) LtJc\W i~ 1O:ie<rnM I1x1 h~e 1«Yl\Q, Oi cec\{J~
Me~a o iP,  ¥')    hl'S~\CJ 1 t:J C:O.:e~Bf¥€C ~ ~\ono. ~o!;'Q,




8.   The alleged discrimination occurred on or about - - - - -




9.   The nature of my complaint, i.e., the manner in which the

~individuals(s)   named aboye discriminated against me in terms of

the conditions of my employment is as follo:~=         ~

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10.   The alleged illegal activity took place at:       2w~~)nWrne


11.   I filed charges with the Equal Employment Opportunity

Commission regarding defendant(s) alleged discriminatory conduct

                                             I have attached a copy of

the Notice    o~   Right to Sue letter issued by the Equal Employment

Opportunity Commission.       This letter was received by me on       J.J/A


12.    I seek the following relief:

       (A)           recovery of back pay;

      . (B)          reinstatement to my former job;

       (C)    t      trial by jury on all issues so triable;

       and any other relief as may be appropriate, including

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      injunctive orders, damages, costs and attorney's fees.



. C2?>Date
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                              Address and Phone Number of-Plaintiff




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